             Case: 1:24-cv-00590-DRC Doc #: 2 Filed: 10/17/24 Page: 1 of 2 PAGEID #: 31


AO '440 (Rev. 06fJ2) SIIIIIIDDIII in I Civil Ac:tioo


                                           UNITED STATES DISTRICT COURT
                                                                      fordle
                                                            Southern District of Ohio

                                                                        )
 VICTORIA LOVETT, lndMdually and on behalf of all                       )
            others slmllarty situated,                                  )
                                                                        )
                                Plaintll(•)
                                                                        )
                                                                        )
                                     v.                                         Civil Action No. l:24-cv-590
                                                                        )
                    CONTINUED.COM, UC,                                  )
                                                                        )
                                                                        )
                                                                        )
                              Defe,,da,,t(s)                            )

                                                       SUMMONS IN A CIVIL ACl10N

To: (Defada,,t's -          1111d atl:lru.r) CONTINUED.COM UC
                                              CT CORPORATION SYSTEM
                                              4400 EASTON CMNS STE 125
                                              COLUMBUS OH 43219
                                              11/17/2023



           A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States dcscnbed in Fed. R Civ.
P. 12 (a)(2) or (3) - you must serve OD the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served OD the plaintiff or plaintifrs attorney,
whose name and address are:
                                              O'CONNOR, HASELEY AND WILHELM, LLC
                                              470 West Broad Street, Suite 15
                                              Columbus, OH 43215



       If you fail to respond,judgnientby default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.


                                                                                  CLERK OF COURT


Date: - -10/17/2024
         -
                                                                                            Sig,,,a,a,n ofClvi or Dquty C1D'lt
             Case: 1:24-cv-00590-DRC Doc #: 2 Filed: 10/17/24 Page: 2 of 2 PAGEID #: 32


    AO 440 (Rev. 06/12) Summons in I Civil Action (Page 2)

     Civil Action No.

                                                               PROOF OF SERVICE
                         (Tl,ls stttioll siolllil not H jild with tM co■rt ll1IUff reqllird by Fu. R. Civ. P. 4 (I))

               This summons for (name ofIndividual (Jlld title, Ifany)
     was received by me on (date)

               Cl I personally served the summons on the individual at (place)
                                                                                    on (date)                           ; or

               Cl I left the summons at the individual's residence or usual place ofabode with (name)
                                                                     , a person of suitable age and discretion who resides there,
              -  --------- -, and
              0 D (date)
                               -mailed
                                  - -a copy to the individual's last known address; or
                           - -- - - --
               Cl I served the summons on (IUl!le ofhtdlvfdwl)                                                                   , who is
                designated by law to accept service of process on behalf of (M111e oforganization)
                                                                                    on (date)                           ; or
              ------- - -- - - - - -- - - -                                                     -------
               Cl I returned the summons unexecuted because                                                                           ; or

               0 Other (speci/j):




               My fees are$                            for travel and $                 for services, for a total of$          0.00


               I declare undec penalty ofpcrjUI}' that this information is true.


     Date:
                                                                                                Senier s signature


                                                                                            Printed name atfd title




                                                                                                Server's address

    Additional information regarding attempted service, etc:




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